  Case: 2:19-cv-01453-GCS-KAJ Doc #: 9 Filed: 06/07/19 Page: 1 of 1 PAGEID #: 48



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


CARLA HOOVER, et al.,

                          Plaintiffs

        vs.                                                           Civil Action 2:19-cv-1453
                                                                      Judge George C. Smith
                                                                      Magistrate Judge Jolson

STEVEN G. ROOSER, et al.,

                          Defendants.




                                                   NOTICE

PROCEEDING:               PRELIMINARY PRETRIAL CONFERENCE

PLACE:                    ROOM 235
                          Jos. P. Kinneary U.S. Courthouse
                          85 Marconi Blvd., R-235
                          Columbus, OH 43215

DATE/TIME:                July 10, 2019 @ 1:45 p.m.

PLEASE NOTE:
        1. The report required by Rule 26(f) of the Federal Rules of Civil Procedure must be filed no fewer than
seven (7) days prior to the pretrial conference. The required form can be found on the Court’s website,
www.ohsd.uscourts.gov. Click on AForms@ and then select ARule 26(f) Report of the Parties (Eastern Division
Only).@ Please Note: The Rule 26(f) Report for the Eastern Division has changed. Please ensure that
you are using the correct form.

        2. The Eastern Division General Order on Pretrial Conference can also be found on the Court’s website.

          3. The conference may be conducted by telephone if all parties agree to participate by telephone. To
initiate the conference, counsel are directed to join together on one line and then call the Court at 614-719-3470
or provide the Court with a call-in number. Prior to the scheduled date and time, counsel must inform the Court
that the conference will be by telephone, and shall designate the person responsible for initiating the call or
provide the call-in number.

        4. Parties or principals represented by counsel are welcome, but not required, to attend the conference.
Individuals not represented by counsel must participate.

        5. Questions or concerns should be directed to chambers at 614-719-3470.


June 7, 2019                                                      s/Jessica Rector
                                                             Jessica Rector, Courtroom Deputy to
                                                             Magistrate Judge Kimberly A. Jolson
